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 9
10
11                        UNITED STATES DISTRICT COURT
12                      CENTRAL DISTRICT OF CALIFORNIA
13
14     LISA REINGOLD, on behalf of herself,    Case No.: 8:20-cv-00785-GW (DFMx)
15     and all others similarly situated,
                                               CLASS ACTION
16                      Plaintiff,
            v.                                 FIRST AMENDED CLASS ACTION
17                                             COMPLAINT
18     ELEMENTS THERAPEUTIC
       MASSAGE, LLC; and GO MODERN
19     HEALTH CORP.,                           DEMAND FOR JURY TRIAL
20
                        Defendants.
21
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 1                                             INTRODUCTION
 2               1.     Plaintiff Lisa Reingold (“Plaintiff”) brings this action on behalf of
 3     herself and all others similarly situated against Defendants Elements Therapeutic
 4     Massage, LLC and GO Modern Health Corp. (“Elements” or “Defendants”). Plaintiff
 5     makes the following allegations pursuant to the investigation of her counsel and
 6     based upon information and belief, except as to the allegations specifically pertaining
 7     to herself, which are based on personal knowledge:
 8                                     JURISDICTION AND VENUE
 9               2.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. §
10     1332(d)(2)(A) because this case is a class action where the aggregate claims of all
11     members of the proposed class are in excess of $5,000,000, exclusive of interest and
12     costs, and most members of the proposed nationwide class are citizens of states
13     different from the states of Defendant.
14               3.     This Court has general jurisdiction over Defendants because Defendants
15     conduct substantial business within California such that Defendants have significant,
16     continuous, and pervasive contacts with the State of California.
17               4.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because the
18     challenged fee practices have been committed in this District and because Plaintiff
19     resides and suffered the alleged harm in this District.
20                                      FACTUAL ALLEGATIONS
21               5.     Defendants have made the unconscionable decision to keep charging
22     their thousands of customers monthly membership fees while closing their massage
23     studios as the novel coronavirus, COVID-19, rages throughout the world and the
24     United States economy has gone into a deep recession.
25               6.     Defendant Elements Therapeutic Massage, LLC is the operator of more
26     than 250 massage studios1 throughout the United States, operating in approximately
27
       1
28         https://elementsmassage.com/national-access (last visited July 8, 2020).

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 1     18 cities in California alone.2 Defendant Elements Therapeutic Massage, LLC is the
 2     franchisor of these massage studios. Defendant GO Modern Health Corp. is the
 3     operator and franchisee of the Elements Massage Studio in Laguna Niguel, California
 4     that Plaintiff attended. Defendants offer the “Elements Wellness Program,” which is
 5     a “month-to-month membership that grants each client one massage session per
 6     month at a discounted rate. It also provides clients as many additional sessions as
 7     desired at the discounted member rate. The payment method is simply handled
 8     through auto debit once per month.”3 The monthly membership fee is approximately
 9     $79.00.
10               7.     To sign up for Defendants’ month-to-month membership program,
11     customers provide Defendants with their credit card or debit card information.
12     Defendants then automatically charge their customers’ credit or debit cards as
13     payments are due on a monthly basis.
14               8.     In approximately mid-March of 2020, Defendants closed all of their
15     massage studios due to the COVID-19 pandemic, including the Elements Massage
16     Studio located in Laguna Nigel, California. However, unlike most of their
17     competitors, Defendants continued charging their members monthly membership
18     fees— at full price. Defendants are able to unilaterally charge their customers
19     monthly fees without their consent, as they are in possession of their customers’ debit
20     and credit card information. Thus, Defendants have made the deliberate decision to
21     bilk their customers out of roughly $79.00 per month while their customers do not
22     have access to Defendants’ massage studios. The sole reason Defendants’ customers
23     pay monthly membership fees is to have access to Defendants’ massage studios.
24     During the relevant time period, Defendants were charging their customers the full
25     price of membership fees while denying customers access to their massage studios.
26
27     2
           https://elementsmassage.com/all-massage-locations (last visited July 8, 2020).
28     3
           https://elementsmassage.com/membership (last visited July 8, 2020).
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 1           9.    Plaintiff seeks relief in this action individually, and on behalf of all of
 2     Defendants’ customers nationwide that have paid or were charged fees while
 3     Defendants’ massage studios were closed for Defendants’ violations of the California
 4     Consumer Legal Remedies Act (“CLRA”), Civil Code §§1750, et seq., Unfair
 5     Competition Law (“UCL”), Bus. & Prof. Code §§ 17200, et seq., False Advertising
 6     Law (“FAL”), Bus. & Prof. Code §§ 17500, et seq., and for breach of contract, unjust
 7     enrichment, and money had and received.
 8                                          PARTIES
 9           10.   Plaintiff Lisa Reingold is a citizen of California, residing in Aliso Viejo,
10     California. Ms. Reingold is a current member of Defendants’ Monthly Wellness
11     Membership, and is charged $79.00 per month on a month-to-month basis. Plaintiff
12     has been an Elements Monthly Wellness member since approximately August of
13     2019. In approximately mid-march of 2020, Defendants closed their massage
14     studios, including the Elements Massage Studio in Laguna Nigel, California that
15     Plaintiff attended. However, Defendants charged Plaintiff’s credit card in the full
16     amount of her month-to-month membership— $79.00— even though Plaintiff does
17     not have access to any of Defendants’ massage studios. Further, Defendants have not
18     refunded Plaintiff any part of her monthly fee for the time in which Defendants’
19     massage studios have remained closed. Plaintiff signed up for Defendants’ month-
20     to-month membership with the belief and on the basis that she would have access to
21     Defendants’ massage studios at any time during the months that she was charged.
22     Plaintiff would not have paid for the membership, or would not have paid for it on
23     the same terms, had she known that she would not have access to any of Defendants’
24     massage studios. Plaintiff continues to face imminent harm, as Defendants continue
25     charging their customers monthly fees during the time in which their massage studios
26     remain closed.
27           11.   Defendant Elements Therapeutic Massage, LLC is a Delaware limited
28     liability company that maintains its principal place of business at 9780 S. Meridian
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 1     Blvd., #400, Englewood, Colorado 80112. Defendant Elements Therapeutic
 2     Massage, LLC is the operator of more than 250 massage studios nationwide,
 3     including massage studios in California. Defendant Elements Therapeutic Massage,
 4     LLC is the franchisor of the Elements Massage Studios, including the Elements
 5     Massage Studio located in Laguna Niguel, California that Plaintiff attended.
 6               12.   Defendant GO Modern Health Corp. is a California corporation that is
 7     registered to do business in California as entity number C3502034. Defendant GO
 8     Modern Health Corp. is the operator and franchisee of the Elements Massage Studio
 9     located at 27901 La Paz Rd Suite E, Laguna Niguel, California 92677 that Plaintiff
10     attended.
11                          VICARIOUS LIABILITY ALLEGATIONS
12         A.    Joint Enterprise
13              13.    Defendant Elements Therapeutic Massage, LLC and Defendant GO
14     Modern Health Corp. have entered into a joint undertaking to carry out a single
15     business enterprise for profit. Defendants jointly operate the Elements Massage
16     Studio located in Laguna Niguel, California that Plaintiff attended. Defendant
17     Elements Therapeutic Massage, LLC is the franchisor of the Elements Massage
18     Studio in Laguna Niguel, California and Defendant GO Modern Health Corp. is the
19     franchisee of the Elements Massage Studio in Laguna Niguel, California.
20              14.    Defendants have equal rights to direct and govern the Elements Massage
21     Studio located in Laguna Niguel, California and Defendants have a joint proprietary
22     interest relating to the Elements Massage Studio in Laguna Niguel, California. For
23     example, according to an Elements Therapeutic Massage Franchise Disclosure
24     Document (“FDD”)4, Defendants share in the profits that are derived from the
25     Elements Massage Studio located in Laguna Niguel, California. See Ex. A at p. 96.
26     The FDD states that Defendant Elements Therapeutic Massage, LLC will receive 6%
27
       4
        A copy of the Elements Therapeutic Massage Franchise Disclosure Document is attached as
28
       Exhibit A to this First Amended Complaint.
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 1     of gross receipts every month from its franchisees, including Defendant GO Modern
 2     Health Corp. See id. According to the FDD, gross receipts include “all of [the
 3     franchisee’s] revenue and receipts, including those taken by cash, credit card, debit
 4     card, check, trade, barter or exchange, electronic funds transfer, or any other means
 5     of credit which are derived from the operations of your Studio, including, but not
 6     limited to, the sale of massage and bodywork services…” (See id. at p. 97) (emphasis
 7     added).
 8         15.      Defendant Elements Therapeutic Massage, LLC also controls the
 9     services that will be provided and all products that will be offered for sale at the
10     Elements Massage Studios, including the Elements Massage Studio operated by
11     Defendant GO Modern Health Corp. (See Ex. A at pp. 40, 108). Defendant Elements
12     Therapeutic Massage, LLC further retains the right to establish both minimum and
13     maximum prices that may be charged for products and services offered at Elements
14     Massage Studios. (Id. at pp. 41, 108).
15         16.      Defendants Elements Therapeutic Massage, LLC also controls the
16     marketing for its Elements Massage Studios, including the Elements Massage Studio
17     located in Laguna Niguel, California. For example, the FDD states that franchisees,
18     such as Defendant GO Modern Health Corp., must contribute 1% of their gross
19     receipts to a marketing fund. See Ex. A at p. 17. The marketing fund is controlled by
20     Defendant Elements Therapeutic Massage, LLC, which it spends “on preparing
21     advertising and promotional materials and advertising, marketing, and promotional
22     materials” for franchisee studios, including the Elements Massage Studio located in
23     Laguna Niguel, California. See Ex. A at p. 17. Defendants Elements Therapeutic
24     Massage, LLC also establishes “Marketing Cooperatives” in specific geographic
25     areas where its massage studios are located. See Ex. A at p. 17.
26         17.      Defendant Elements Therapeutic Massage, LLC also has an equal right
27     of control over the operations of its franchisee massage studios, including the
28     Elements Massage Studio located in Laguna Niguel, California. For example,
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 1     Defendant Elements Therapeutic Massage, LLC controls the operations of the
 2     franchisee massage studios by (a.) offering training courses to employees (See Ex. A
 3     at p. 17 & 28); (b.) approving insurance carriers (See Ex. A at p. 17 & 23); (c.)
 4     approving the suppliers of cabinetry and millwork (See Ex. A. at p. 18); (d.)
 5     approving the suppliers of massage equipment and supplies (See Ex. A. at p. 18 &
 6     23); (e.) approving the furniture, décor, and other equipment used in each massage
 7     studio (See Ex. A. at p. 18 & 23); (f.) approving the computer hardware and software
 8     that will be used in each massage studio (See Ex. A. at p. 18); and (g.) by providing
 9     real estate services when choosing a studio location. (See Ex. A. at p. 21).
10              18.     In advertising franchise opportunities, Defendant Elements Therapeutic
11     Massage, LLC advertises “a business that takes the guesswork out of daily
12     operations…”5 According to the FDD, Defendant GO Modern Health Corp. is
13     required to operate the Elements Massage studio according to Defendant Elements
14     Therapeutic Massage, LLC’s standards. (See Ex. A at p. 8 (“You will operate the
15     Studio according to our standards, specifications, methods, techniques, and operating
16     and other procedures (‘System Standards’) that constitute the Franchise System. The
17     distinguishing characteristics of the Franchise System include the [Elements Massage
18     trademark], the interior layout and design, color scheme, signage and equipment,
19     copyrights, titles, symbols, emblems, slogans, insignia, designs, diagrams, artworks,
20     worksheets, originals, techniques, rules, ideas, philosophies, illustrations, course
21     materials, the operations manual, any other manuals or materials loaned to you, and
22     any additional manuals and materials periodically provided to you regarding the
23     operations of your Studio…”)).
24         B.    Agency
25              19.     Defendant Elements Therapeutic Massage, LLC and Defendant GO
26     Modern Health Corp. have entered into an agency relationship whereby Defendant
27
       5
28         https://elementsmassage.com/franchise/index.html (last visited July 8, 2020).

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 1     Elements Therapeutic Massage, LLC acts as the principal and Defendant GO Modern
 2     Health Corp. acts as the agent. Defendant Elements Therapeutic Massage, LLC has
 3     manifested its assent to Defendant GO Modern Health Corp. for purposes of
 4     Defendant GO Modern Health Corp. acting on Defendant Elements Therapeutic
 5     Massage, LLC’s behalf and subject to Defendant Elements Therapeutic Massage,
 6     LLC’s control.
 7          20.     On information and belief, Defendants Elements Therapeutic Massage,
 8     LLC and GO Modern Health Corp. have entered into a contract that establishes an
 9     agency relationship. Plaintiff is informed and believes that the terms of the contract
10     are similar to the terms that are outlined in the FDD attached hereto as Exhibit A.
11     The FDD also allows Defendant Elements Therapeutic Massage, LLC to exert
12     control over the operations of Defendant GO Modern Health Corp. by (a.) offering
13     training courses to employees (See Ex. A at p. 17 & 28); (b.) approving insurance
14     carriers (See Ex. A at p. 17 & 23); (c.) approving the suppliers of cabinetry and
15     millwork (See Ex. A. at p. 18); (d.) approving the suppliers of massage equipment
16     and supplies (See Ex. A. at p. 18 & 23); (e.) approving the furniture, décor, and other
17     equipment used in each massage studio (See Ex. A. at p. 18 & 23); (f.) approving the
18     computer hardware and software that will be used in each massage studio (See Ex.
19     A. at p. 18); and (g.) by providing real estate services when choosing a studio
20     location. (See Ex. A. at p. 21).
21          21.     The FDD also requires that Defendant GO Modern Health Corp. operate
22     its massage studio according to Defendant Elements Therapeutic Massage, LLC’s
23     standards. (See Ex. A at p. 8 (“You will operate the Studio according to our standards,
24     specifications, methods, techniques, and operating and other procedures (‘System
25     Standards’) that constitute the Franchise System. The distinguishing characteristics
26     of the Franchise System include the [Elements Massage trademark], the interior
27     layout and design, color scheme, signage and equipment, copyrights, titles, symbols,
28     emblems, slogans, insignia, designs, diagrams, artworks, worksheets, originals,
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 1     techniques, rules, ideas, philosophies, illustrations, course materials, the operations
 2     manual, any other manuals or materials loaned to you, and any additional manuals
 3     and materials periodically provided to you regarding the operations of your
 4     Studio…”)).
 5           22.     On information and belief, Defendant Elements Therapeutic Massage,
 6     LLC requires, and Defendant GO Modern Health Corp. implements, the Elements
 7     membership program which permits members who pay a monthly membership fee
 8     to receive one massage per month. See Ex. A. at p. 8 (“Elements Studios offer a
 9     membership program under which members, for a monthly fee, receive one massage
10     per month.”); see also id. at p. 41 (“You must offer to customers any membership
11     program we require.”).
12      C.    Aiding and Abetting
13           23.     Defendant Elements Therapeutic Massage, LLC has also aided and
14     abetted the conduct of Defendant GO Modern Health Corp. and other franchisees by
15     controlling all aspects of the operations of Elements Massage Studios, including the
16     Elements Massage Studio located in Laguna Niguel, California. Specifically,
17     Defendant Elements Therapeutic Massage, LLC has aided and abetted the conduct
18     giving rise to this action, including by charging the credit cards and debit cards of
19     Elements Massage Studio customers, including Plaintiff, during the time in which
20     the massage studios were closed due to the coronavirus.
21           24.     On information and belief, Defendant Elements Therapeutic Massage,
22     LLC requires, and Defendant GO Modern Health Corp. implements, the Elements
23     membership plan at issue. See Ex. A. at p. 41 (“You must offer to customers any
24     membership program that we require.”).
25           25.     Defendant Elements Therapeutic Massage, LLC knew that Defendant
26     GO Modern Health Corp. and other franchisees were unlawfully charging the credit
27     cards and debit cards of Elements Massage Studio customers, including Plaintiff,
28     during the time in which the massage studios were closed due to the coronavirus.
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 1   Defendant Elements Therapeutic Massage, LLC also provided substantial assistance
 2   to Defendant GO Modern Health Corp. and other franchisees to charge the credit
 3   cards and debit cards of Elements Massage Studio customers, including Plaintiff,
 4   during the time in which the massage studios were closed due to the coronavirus. For
 5   example, Defendant Elements Therapeutic Massage, LLC provides its franchisees,
 6   including Defendant GO Modern Health Corp., with the “computer software required
 7   for conducting point of sale transactions.” See Ex. A at p. 23-24.
 8        26.      Defendant Elements Therapeutic Massage, LLC also provided
 9   substantial assistance to its franchisees, including Defendant GO Modern Health
10   Corp., by (a.) offering training courses to employees (See Ex. A at p. 17 & 28); (b.)
11   approving insurance carriers (See Ex. A at p. 17 & 23); (c.) approving the suppliers
12   of cabinetry and millwork (See Ex. A. at p. 18); (d.) approving the suppliers of
13   massage equipment and supplies (See Ex. A. at p. 18 & 23); (e.) approving the
14   furniture, décor, and other equipment used in each massage studio (See Ex. A. at p.
15   18 & 23); (f.) approving the computer hardware and software that will be used in
16   each massage studio (See Ex. A. at p. 18); and (g.) by providing real estate services
17   when choosing a studio location. (See Ex. A. at p. 21).
18                           CLASS ACTION ALLEGATIONS
19         27.     Plaintiff brings this action as a class action under Federal Rule of Civil
20   Procedure 23 on behalf of a Class consisting of all persons in the United States who,
21   during the period in which Defendants’ massage studios were closed, incurred fee(s)
22   in connection with Defendants’ membership plans.
23          28. Plaintiff also seeks to represent a subclass defined as all members of the
24   Class who are members of an Elements Massage studio in California (the “California
25   Subclass”).
26          29. Plaintiff reserves the right to amend or modify the Class definition with
27   greater specificity or further division into subclasses or limitation to particular issues
28   as discovery and the orders of this Court warrant.
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 1          30. Excluded from the Class are the Defendants, the officers and directors
 2   of the Defendants at all relevant times, members of their immediate families and their
 3   legal representatives, heirs, successors or assigns and any entity in which Defendants
 4   have or had a controlling interest.
 5          31. Plaintiff is a member of the Class and California Subclass she seeks to
 6   represent.
 7          32. Defendants have thousands of customers nationwide that have paid or
 8   were charged fees while Defendants’ massage studios were closed. Accordingly,
 9   members of the Class are so numerous that their individual joinder herein is
10   impracticable. The precise number of Class members and their identities are
11   unknown to Plaintiff at this time but may be determined through discovery.
12          33. Common questions of law and fact exist as to all Class members and
13   predominate over questions affecting only individual Class members. Common legal
14   and factual questions include, but are not limited to, whether Defendants have
15   breached contracts with their customers and whether their actions are fraudulent and
16   unlawful.
17          34. The claims of the named Plaintiff are typical of the claims of the Class
18   in that the named Plaintiff was exposed to Defendants’ false and misleading
19   advertising and was charged membership fees despite being barred from entry into
20   Defendants’ massage studios, and suffered losses as a result.
21          35. Plaintiff is an adequate representative of the Class because Plaintiff’s
22   interests do not conflict with the interests of the Class members Plaintiff seeks to
23   represent, Plaintiff has retained competent counsel experienced in prosecuting class
24   actions, and Plaintiff intends to prosecute this action vigorously. The interests of
25   Class members will be fairly and adequately protected by Plaintiff and her counsel.
26          36. The class mechanism is superior to other available means for the fair
27   and efficient adjudication of the claims of the Class members. Each individual Class
28   member may lack the resources to undergo the burden and expense of individual
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 1   prosecution of the complex and extensive litigation necessary to establish
 2   Defendants’ liability. Individualized litigation increases the delay and expense to all
 3   parties and multiplies the burden on the judicial system presented by the complex
 4   legal and factual issues of this case. Individualized litigation also presents a potential
 5   for inconsistent or contradictory judgments. In contrast, the class action device
 6   presents far fewer management difficulties and provides the benefits of single
 7   adjudication, economy of scale, and comprehensive supervision by a single court on
 8   the issue of Defendants’ liability. Class treatment of the liability issues will ensure
 9   that all claims and claimants are before this Court for consistent adjudication of the
10   liability issues.
11                               FIRST CAUSE OF ACTION
12                Violation of California’s Consumers Legal Remedies Act
13                              Cal. Civ. Code §§ 1750, et seq.
14          37.    Plaintiff hereby incorporates by reference the allegations contained in
15   all preceding paragraphs of this complaint.
16          38.    Plaintiff brings this claim individually and on behalf of members of the
17   proposed Class against Defendants. Plaintiff also brings this claim individually and
18   on behalf of members of the proposed California Subclass against Defendants.
19          39.    Plaintiff and Class members are consumers who paid fees for use of
20   Defendants’ massage studios for personal, family or household purposes. Plaintiff
21   and the Class are “consumers” as that term is defined by the CLRA in Cal. Civ. Code
22   § 1761(d).
23          40.    Access to Defendants’ massage studios – the benefit for which Plaintiff
24   and class members bargained, contracted, and paid Defendants – is a “service” within
25   the meaning of Cal. Civ. Code § 1761(b). The purchases by Plaintiff and the Class
26   are “transactions” within the meaning of Cal. Civ. Code § 1761(e).
27          41.    Defendants’ actions, representations, and conduct have violated, and
28   continue to violate the CLRA, because they extend to transactions that intended to
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 1   result, or which have resulted in, the sale of services to consumers.
 2         42.    Defendants’ advertising that their massage studios would be available
 3   to their customers and that their customers would have access to Defendants’
 4   massage studios upon paying a membership fee is false and misleading to a
 5   reasonable consumer, including Plaintiff, because Defendants in fact closed all of
 6   their massage studios while continuing to charge their customers the full price of
 7   membership.
 8         43.    California’s Consumers Legal Remedies Act, Cal. Civ. Code §
 9   1770(a)(5), prohibits “[r]epresenting that goods or services have sponsorship,
10   approval, characteristics, ingredients, uses, benefits, or quantities which they do not
11   have or that a person has a sponsorship, approval, status, affiliation, or connection
12   which he or she does not have.” By engaging in the conduct set forth herein,
13   Defendants violated and continue to violate Section 1770(a)(5) of the CLRA, because
14   Defendants’ conduct constitutes unfair methods of competition and unfair or
15   fraudulent acts or practices, in that Defendants misrepresent the particular
16   characteristics, benefits and quantities of the services.
17         44.    Cal. Civ. Code § 1770(a)(7) prohibits representing that goods or services
18   are of a particular standard, quality, or grade, or that goods are of a particular style
19   or model, if they are of another. By engaging in the conduct set forth herein,
20   Defendants violated and continue to violate Section 1770(a)(7) of the CLRA, because
21   Defendants’ conduct constitutes unfair methods of competition and unfair or
22   fraudulent acts or practices, in that Defendants misrepresent the particular standard,
23   quality or grade of the services.
24         45.    Cal. Civ. Code § 1770(a)(9) further prohibits “[a]dvertising goods or
25   services with intent not to sell them as advertised.” By engaging in the conduct set
26   forth herein, Defendants violated and continue to violate Section 1770(a)(9), because
27   Defendants’ conduct constitutes unfair methods of competition and unfair or
28   fraudulent acts or practices, in that Defendants advertise services with the intent not
                                          12
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 1   to sell the services as advertised.
 2         46.    Plaintiff and the Class acted reasonably when they purchased
 3   Defendants’ massage studio membership on the belief that Defendants’
 4   representations were true and lawful.
 5         47.    Plaintiff and the Class suffered injuries caused by Defendants because
 6   (a) they would not have purchased or paid for Defendants’ massage studio
 7   memberships absent Defendants’ representations and omission of a warning that they
 8   would continue charging customers’ credit cards and debit cards while all massage
 9   studios nationwide were closed; (b) they would not have purchased massage studio
10   memberships on the same terms absent Defendants’ representations and omissions;
11   (c) they paid a price premium for Defendants’ massage studio memberships based on
12   Defendants’ misrepresentations and omissions; and (d) Defendants’ massage studio
13   memberships did not have the characteristics, benefits, or quantities as promised.
14         48.    Under California Civil Code § 1780(a), Plaintiff and members of the
15   Class seek injunctive and equitable relief for Defendants’ violations of the CLRA.
16         49.    In compliance with the provisions of California Civil Code § 1782,
17   Plaintiff sent written notice to Defendant Elements Therapeutic Massage, LLC on
18   April 30, 2020, informing Defendant Elements Therapeutic Massage, LLC of her
19   intention to seek damages under California Civil Code § 1750. The letter was sent
20   via certified mail, return request, advising Defendant Elements Therapeutic Massage,
21   LLC that it is in violation of the CLRA and demanding that it cease and desist from
22   such violations and make full restitution by refunding the monies received therefrom.
23   The letter expressly stated that it was sent on behalf of Plaintiff and “all other persons
24   similarly situated.” More than thirty days have passed since the written notice letter
25   was sent and Defendant Elements Therapeutic Massage, LLC has failed to take the
26   corrective action described in Plaintiff’s letter. Accordingly, Plaintiff, individually
27   and on behalf of the Class, seeks damages from Defendant Elements Therapeutic
28   Massage, LLC as permitted by Civil Code § 1782(d) for Defendant Elements
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 1   Therapeutic Massage, LLC’s violations of the CLRA.
 2         50.    Plaintiff will mail an appropriate demand letter consistent with
 3   California Civil Code § 1782(a) to Defendant GO Modern Health Corp. If Defendant
 4   GO Modern Health Corp. fails to take corrective action within 30 days of receipt of
 5   the demand letter, Plaintiff will amend her complaint to include a request for damages
 6   as permitted by Civil Code § 1782(d).
 7         51.    Wherefore, Plaintiff seeks injunctive and equitable relief for these
 8   violations of the CLRA against Defendants. Plaintiff also seeks damages against
 9   Defendant Elements Therapeutic Massage, LLC.
10                            SECOND CAUSE OF ACTION
11                  Violation of California’s Unfair Competition Law
12                        Cal. Bus. & Prof. Code §§ 17200, et seq.
13         52.    Plaintiff hereby incorporates by reference the allegations contained in
14   all preceding paragraphs of this complaint.
15         53.    Plaintiff brings this claim individually and on behalf of the members of
16   the proposed Class against Defendants. Plaintiff also brings this claim individually
17   and on behalf of members of the proposed California Subclass against Defendants.
18         54.    Defendants are subject to California’s Unfair Competition Law, Cal.
19   Bus. & Prof. Code §§ 17200, et seq. The UCL provides, in pertinent part: “Unfair
20   competition shall mean and include unlawful, unfair or fraudulent business practices
21   and unfair, deceptive, untrue or misleading advertising ….”
22         55.    Defendants’ advertising that their massage studios would be available
23   to customers, and that their customers would have access to their massage studios
24   upon paying a membership fee is false and misleading to a reasonable consumer,
25   including Plaintiff, because Defendants in fact closed all of their massage studios
26   while continuing to charge customers the full price of massage studio memberships.
27         56.    Defendants’ business practices, described herein, violated the
28   “unlawful” prong of the UCL by violating the CLRA, the FAL, and other applicable
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 1   law as described herein.
 2         57.    Defendants’ business practices, described herein, violated the “unfair”
 3   prong of the UCL in that their conduct is substantially injurious to consumers, offends
 4   public policy, and is immoral, unethical, oppressive, and unscrupulous, as the gravity
 5   of the conduct outweighs any alleged benefits. Defendants’ advertising and their
 6   charging of membership fees while their massage studios are closed is of no benefit
 7   to consumers.
 8         58.    Defendants violated the fraudulent prong of the UCL by misleading
 9   Plaintiff and the Class to believe that they would only be charged fees when they
10   would have access to Defendants’ massage studios.
11         59.    Plaintiff and the Class acted reasonably when they signed up for
12   memberships based on the belief that they would only be charged fees when
13   Defendants’ massage studios were open and accessible.
14         60.    Plaintiff and the Class lost money or property as a result of Defendants’
15   UCL violations because (a) they would not have purchased or paid for Defendants’
16   massage studio memberships absent Defendants’ representations and omission of a
17   warning that they would continue charging customers’ credit cards and debit cards
18   while all massage studios nationwide are closed; (b) they would not have purchased
19   massage studio memberships on the same terms absent Defendants’ representations
20   and omissions; (c) they paid a price premium for Defendants’ massage studio
21   membership based on Defendants’ misrepresentations and omissions; and (d)
22   Defendants’ massage studio memberships did not have the characteristics, benefits,
23   or quantities as promised.
24                                THIRD CAUSE OF ACTION
25                    Violation of California’s False Advertising Law
26                        Cal. Bus. & Prof. Code §§ 17500, et seq.
27         61.    Plaintiff hereby incorporates by reference the allegations contained in
28   all preceding paragraphs of this complaint.
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 1         62.      Plaintiff brings this claim individually and on behalf of the members of
 2   the proposed Class against Defendants. Plaintiff also brings this claim individually
 3   and on behalf of the members of the proposed California Subclass against
 4   Defendants.
 5         63.      California’s False Advertising Law, Cal. Bus. & Prof. Code §§ 17500,
 6   et seq., makes it “unlawful for any person to make or disseminate or cause to be made
 7   or disseminated before the public in this state, ... in any advertising device ... or in
 8   any other manner or means whatever, including over the Internet, any statement,
 9   concerning ... personal property or services, professional or otherwise, or
10   performance or disposition thereof, which is untrue or misleading and which is
11   known, or which by the exercise of reasonable care should be known, to be untrue or
12   misleading.”
13         64.      Defendants engaged in a scheme of charging customers full monthly
14   membership fees while their massage studios were closed. Defendants’ advertising
15   and marketing of their massage studios as being accessible during the membership
16   fee period misrepresented and/or omitted the true content and nature of Defendants’
17   services. Defendants knew that these statements were unauthorized, inaccurate, and
18   misleading.
19         65.      Defendants’ advertising that their massage studios would be available
20   to customers during the membership period, and that their customers would have
21   access to Defendants’ massage studios upon paying a membership fee is false and
22   misleading to a reasonable consumer, including Plaintiff, because Defendants in fact
23   closed all of their massage studios while continuing to charge customers the full price
24   of massage studio memberships.
25         66.      Defendants violated § 17500, et seq. by misleading Plaintiff and the
26   Class to believe that they would be charged fees only when they have access to
27   Defendants’ massage studios.
28         67.      Defendants knew or should have known, through the exercise of
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 1   reasonable care that the advertising of their massage studios as being accessible
 2   during the membership period is false and misleading. Further, Defendants knew or
 3   should have known that they were breaching contracts with their customers and
 4   fraudulently charging fees when they continued charging fees while their massage
 5   studios were closed.
 6         68.     Plaintiff and the Class lost money or property as a result of Defendants’
 7   FAL violation because (a) they would not have purchased or paid for Defendants’
 8   massage studio memberships absent Defendants’ representations and omission of a
 9   warning that they would continue charging customers’ credit cards and debit cards
10   while all massage studios nationwide are closed; (b) they would not have purchased
11   massage studio memberships on the same terms absent Defendants’ representations
12   and omissions; (c) they paid a price premium for Defendants’ massage studio
13   membership based on Defendants’ misrepresentations and omissions; and (d)
14   Defendants’ massage studio memberships did not have the characteristics, benefits,
15   or quantities as promised.
16                             FOURTH CAUSE OF ACTION
17                                    Breach of Contract
18         69.     Plaintiff hereby incorporates by reference the allegations contained in
19   all preceding paragraphs of this complaint.
20         70.     Plaintiff brings this claim individually and on behalf of the members of
21   the proposed Class against Defendants. Plaintiff also brings this claim individually
22   and on behalf of the members of the proposed California Subclass against
23   Defendants.
24         71.     Defendants entered into contracts with Plaintiff and Class members to
25   provide access to massage services in exchange for the payment of membership fees.
26   Defendants have breached these contracts by continuing to charge Plaintiff and Class
27   members’ debit and credit cards while Defendants’ massage studios remain closed.
28   Plaintiff and Class members have suffered an injury through the payment of
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 1   membership fees while not having access to Defendants’ massage studios.
 2                               FIFTH CAUSE OF ACTION
 3                                     Unjust Enrichment
 4         72.      Plaintiff hereby incorporates by reference the allegations contained in
 5   all preceding paragraphs of this complaint.
 6         73.      Plaintiff brings this claim individually and on behalf of the members of
 7   the proposed Class against Defendants. Plaintiff also brings this claim individually
 8   and on behalf of the members of the proposed California Subclass against
 9   Defendants.
10         74.      Plaintiff and members of the Class conferred benefits on Defendants by
11   paying, and being charged, membership fees while Defendants’ massage studios
12   were closed.
13         75.      Defendants have knowledge of such benefits.
14         76.      Defendants have been unjustly enriched in retaining the revenues
15   derived from Plaintiff and Class members’ membership fees. Retention of those
16   moneys under these circumstances is unjust and inequitable because Defendants are
17   charging their customers full price for memberships while their massage studios
18   remain closed. These misrepresentations and charges caused injuries to Plaintiff and
19   members of the Class because they would not have paid Defendants’ membership
20   fees had the true facts been known.
21         77.      Because Defendants’ retention of the non-gratuitous benefits conferred
22   on them by Plaintiff and members of the Class is unjust and inequitable, Defendants
23   must pay restitution to Plaintiff and members of the Class for their unjust enrichment,
24   as ordered by the Court.
25                               SIXTH CAUSE OF ACTION
26                                 Money Had and Received
27         78.      Plaintiff hereby incorporates by reference the allegations contained in
28   all preceding paragraphs of this complaint.
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 1         79.     Plaintiff brings this claim individually and on behalf of the members of
 2   the proposed Class against Defendants. Plaintiff also brings this claim individually
 3   and on behalf of the members of the proposed California Subclass against
 4   Defendants.
 5         80.     Defendants received money in the form of membership fees that was
 6   intended to be used for the benefit of Plaintiff and the Class, those membership fees
 7   were not used for the benefit of Plaintiff and the Class, and Defendants have not given
 8   back or refunded the wrongfully obtained money and membership fees to Plaintiff
 9   and the Class.
10         81.     Defendants obtained money in the form of membership fees that were
11   intended to be used to provide massage studio access to Plaintiff and the Class.
12   However, Defendants have retained all of the membership fees while their massage
13   studios were closed.
14                                 PRAYER FOR RELIEF
15         WHEREFORE, Plaintiff, individually and on behalf of all others similarly
16   situated, seeks judgment against Defendant, as follows:
17     a) For an order certifying the Class under Rule 23 of the Federal Rules of Civil
18        Procedure and naming Plaintiff as representative of the Class and Plaintiff’s
19        attorneys as Class Counsel to represent the Class members;
20     b) For an order certifying the California Subclass under Rule 23 of the Federal
21        Rules of Civil Procedure and naming Plaintiff as representative of the
22        California Subclass and Plaintiff’s attorneys as Class Counsel to represent the
23        California Subclass members;
24     c) For an order declaring that Defendants’ conduct violates the statutes and laws
25        referenced herein;
26     d) For an order finding in favor of Plaintiff, the Class, and the California
27        Subclass, on all counts asserted herein;
28     e) For compensatory and punitive damages in amounts to be determined by the
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 1        Court and/or jury;
 2     f) For prejudgment and postjudgment interest on all amounts awarded;
 3     g) For an order of restitution and all other forms of equitable monetary relief;
 4     h) For injunctive relief as pleaded or as the Court may deem proper; and
 5     i) For an order awarding Plaintiff and the Class their reasonable attorneys’ fees
 6        and expenses and costs of suit.
 7                           DEMAND FOR TRIAL BY JURY
 8         Plaintiff demands a trial by jury of all issues so triable.
 9
10
11   Dated: July 9, 2020                     /s/ Ronald A. Marron
                                             By: Ronald A. Marron
12                                           LAW OFFICES OF RONALD A.
13                                           MARRON, APLC
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19                                           Class
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